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 4                         IN THE UNITED STATES DISTRICT COURT FOR THE

 5                                  EASTERN DISTRICT OF CALIFORNIA

 6

 7   UNITED STATES OF AMERICA,                     )
                                                   )
 8                     Plaintiff,                  )          CASE NUMBER: 1:10CR00416-011
                                                   )
 9            vs.                                  )          ORDER OF RELEASE
                                                   )
10   VIANEY GARCIA-VIVEROS,                        )
                                                   )
11                             Defendant.          )
                                                   )
12

13            The above named defendant having been sentenced on February 13, 2012, to a period of

14   less than time already served,

15            IT IS HEREBY ORDERED that the defendant shall be released forthwith. A certified

16   Judgment and Commitment order to follow. This Order in no way addresses any potential or

17   existing Immigration or Deportation holds or warrants. This Order in no way addresses any

18   potential holds or warrants in any other cases, Federal or State.

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20   IT IS SO ORDERED.

21   Dated:         February 13, 2012                 /s/ Lawrence J. O'Neill
     b9ed48                                       UNITED STATES DISTRICT JUDGE
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